            Case 2:05-cr-00456-DJC Document 50 Filed 02/16/07 Page 1 of 2


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     Sacramento, California 95814
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 4
 5   Attorney for Defendant
     RAQUEL SOLORIO
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       )      No. CR S-05-0456 FCD
12                                   )
                    Plaintiff,       )
13                                   )      STIPULATION AND ORDER VACATING
          v.                         )      DATE, CONTINUING CASE, AND
14                                   )      EXCLUDING TIME
     RAQUEL SOLORIO                  )
15                  Defendant.       )
                                     )      Date: February 26, 2007
16   _______________________________ )      Time: 10:00 a.m.
                                     )      Judge: Hon. Frank C. Damrell Jr.
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          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
19
     WILLIAM WONG, Counsel for Plaintiff, and Attorney DINA L. SANTOS, Counsel for
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     Defendant RAQUEL SOLORIO, that the status conference and motion scheduled for
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     February 20, 2007, be vacated and that all matters be continued to this
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     Court's criminal calendar on February 26, at 10:00 a.m, for status and
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     possible change of plea.
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          This continuance is requested by the defense in order to permit further
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     client consultation, and review of the plea agreement.
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          IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act,
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     18 U.S.C. § 3161 et. seq. be tolled pursuant to § 3161(h)(8)(A) & (B)(iv),
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              Case 2:05-cr-00456-DJC Document 50 Filed 02/16/07 Page 2 of 2


 1   Local code T-4 (time to prepare), and that the ends of justice served in

 2   granting the continuance and allowing the defendant further time to prepare

 3   outweigh the best interests of the public and the defendant in a speedy

 4   trial.

 5         The Court is advised that all counsel have conferred about this request,

 6   that they have agreed to the February 26, 2007 date, and that Mr. Wong has

 7   authorized Ms. Santos to sign this stipulation on his       behalf.

 8         IT IS SO STIPULATED.

 9   Dated: February 14, 2007             /S/ Dina L. Santos
                                              DINA L. SANTOS
10                                            Attorney for Defendant
                                              RAQUEL SOLORIO
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12
     Dated: February 14, 2007             /S/ William Wong
13                                            WILLIAM WONG
                                              Assistant United States Attorney
14                                            Attorney for Plaintiff

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                                           O R D E R
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           IT IS SO ORDERED.
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     Dated: February 16, 2007
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22                                     _______________________________________
                                       FRANK C. DAMRELL, JR.
23                                     UNITED STATES DISTRICT JUDGE
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     Stipulation and Order                     2
